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Diamond Comics Distributors, Inc                                                                                           Case No. 25-10308
AR Aging                                                                                                                              Feb-25

      Consolidated
Diamond Comic Distributors,
                                   ALL            CURRENT           0 TO 30              31 TO 60         60 TO 90          OVER 90
          Inc

GAMES                                5,968,096        3,180,437          1,168,062              366,462          118,900          1,134,234
COMICS - NON REMIT                  20,756,508        6,533,506          2,293,974              842,651          897,940         10,188,438
COMICS- REMIT                        9,267,802        6,731,450          1,574,312              666,081          230,581             65,378

TOTALS                              35,992,406       16,445,392          5,036,347            1,875,195        1,247,421         11,388,051
